                                                                                                     2
  STATE OF NORTH CAROLINA                         IN THE GENERAL COURT OF JUSTICE
                                                      SUPERIOR COURT DIVISION
  COUNTY OF HAYWOOD                                                24 CVS 384

  WILLIAM ELIJAH RIDDLE, A MINOR, )                                                                      I


  BY AND THROUGH HIS GUARDIAN                    )
  AD LITEM, HEATHER MICHELLE                     )
  RIDDLE,                                        )
                                                 )
                        Plaintiff,               )
                                                 ) NOTICE OF FILING OF NOTICE OF
  V.                                             ) REMOVAL TO FEDERAL COURT
                                                 )
 NEIL ROGERS,                                    )
                                                 )
                        Defendant.               )
                                                 )

         Defendant Neil Rogers hereby gives notice that this matter has been removed to the United

States District Court for the Western District of North Carolina as authorized by 28 U.S.C. §§

1331, 1441, and 1446. Defendant's Notice of Removal of this action is based on federal question

jurisdiction. A copy of the Notice of Removal is filed with the Clerk of Court of the United States

District Court for the Western District of North Carolina in accordance with the provisions of 28

U.S.C. § 1446(d), and a copy has been served upon the Plaintiff in this matter.


        THIS the 22nd day of May 2024.

                                                     CAMPBELL SHATLEY, PLLC

                                                     (UAx?v^6a^^u -fiv A&v^v^ Leo^^
                                                     Ashley F. Leonard ^^\\V\ A(J'+V\ovT>-^
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                                 CERTIFICATE OF SERVICE

        This is to certify that the undersigned has this date served this Notice of Filing of Notice of
 Removal to Federal Court in the above-entitled action upon all parties to this cause via electronic
 copy, properly addressed as listed:

     Mark R. Melrose
     Adam R. Melrose
     Melrose Law, PLLC
    P.O. Box 567
    Waynesville,NC 28786
     melrose@mountainverdict.com
    adam@mountainverdict.com
    Attorneys for Plaintiff


        THIS the 22nd day of May 2024.
                                                                     6'           ^ A&W-^ l^o^^
                                                      Ashley F. Leonard            W^ OvYX.-^o'n-^




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